Case No. 1:20-cr-O00386-RM Document 24-2 filed 07/19/23 USDC Colorado pgiof1

PROB 49
(3/89)

UNITED STATES DISTRICT COURT
DENVER, DISTRICT OF COLORADO

Waiver of Hearing to Modify Conditions
of Probation/Supervised Release or Extend Term of Supervision

| have been advised and understand that | am entitled by law to a hearing and
assistance of counsel before any unfavorable change may be made in my conditions of
probation and supervised release or my period of supervision being extended. By
“assistance of counsel,” | understand that | have the right to be represented at the
hearing by counsel of my own choosing if | am able to retain counsel. | also understand
that | have the right to request the court to appoint counsel to represent me at such a
hearing at no cost to myself if | am not able to retain counsel of my own choosing.

| hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. |
also agree to the following modification of my conditions of probation and supervised
release or to the proposed extension of my term of supervision:

1. Unless medically contraindicated, the defendant shall ingest a monitored
substance abuse prevention medication, as directed by the treatment provider or
probation officer. The defendant may be required to pay the cost of medication
as directed by the probation officer.

7
Witness A shell Signed XK t.! a

(U.S. Probation Officer) (Probationer or Supervised ata

My. 222

(Date)

